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                            UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA FLORIDA


   IN RE HEALTH INSURANCE                )
   INNOVATIONS SECURITIES LITIGATION )
                                         )                     Case No. 8:17-cv-02186-TPB-SPF
   ______________________________________)

                               JOINT NOTICE OF SETTLEMENT

          Lead Plaintiff Robert Rector (“Plaintiff”) and Defendants Health Insurance

   Innovations, Inc. (now known as Benefytt Technologies, Inc.) and Michael D. Hershberger

   (together, “Defendants”), through their undersigned counsel, hereby notify the Court that they

   have reached an agreement-in-principle to resolve this matter. The parties have executed a

   Settlement Term Sheet that sets forth the material terms of a binding and enforceable

   agreement to fully, finally, and forever resolve, discharge, and release all rights and claims in,

   or that could have been asserted in, this action, subject to preliminary and final approval by the

   Court, including certification of a proposed class solely for purposes of settlement.

          The parties expect to have executed a formal stipulation of settlement within 45 days.

   Once finalized, the stipulation of settlement and related settlement materials will be submitted

   to the Court for approval, pursuant to Federal Rule of Civil Procedure 23(e) and the Private

   Securities Litigation Reform Act of 1995. The parties therefore respectfully request that the

   Court stay all pretrial, including class certification, proceedings and provide the parties with

   60 days to file a comprehensive written stipulation of settlement, together with a motion for

   preliminary approval thereof.




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     Dated: May 11, 2020

     Respectfully submitted,                        Respectfully submitted,

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